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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

ANTHONY WOMACK,

Defendant.                                                  No. 05-CR-30015-DRH

                                       ORDER

HERNDON, District Judge:

             Before the Court is Defendant Anthony Womack’s motion to inspect

jurors’ notes. (Doc. 388.) It is the procedure of the Court to destroy all notes taken

by jurors following the conclusion of a trial. The instruction to the jury advised them

of that destruction. Accordingly, the notes taken by jurors in Defendant Womack’s

trial have been destroyed. Court DENIES Defendant’s motion to inspect jurors’

notes. (Doc. 388.)



             IT IS SO ORDERED.

             Signed this 24th day of August, 2006.



                                              /s/        David RHerndon
                                              United States District Judge
